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              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 326

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
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                                              Friday, February 25, 2022


                              [Summary] The Russian Federation is viewed
                              negatively by its own Russian population.
                              Patriotism is on the decline. The ongoing
                              information warfare is one‐sided. Putin’s
                              Administration is accused of destroying progressive
                              Russian politicians. The only political force that
                              supports the [military] operation is the conservative
                              or right wing. Federal media and pocket bloggers
                              are opportunists that are not capable of getting
                              people to take to the streets in support of the
                              government. It is believed that since the Crimean
                              ‘euphoria’ in 2014, Putin’s Administration has
                              removed a number of dissenting politicians, turned                          AI
                              them into outcasts, demoralized or incarcerated
                              many, yet, liberals have never been disturbed. The
                              latter category disdains Russian interests and
                              seeks more interaction with their colleagues from
                              the West. Putin’s Administration is compared to
                              Lukashenko who suppressed the Russian Unity
                              followers and favored anti‐Russian nationalists
                              controlled by the West. The source states that
                              Putin’s Administration should stop putting pressure
                              on Russians and start working on eradicating ethnic
                              crime and promoting cultural and historical literacy
                              in politics.
                              Feb 25, 2022, 5:16 AM: Alexander Ionov




                              We are losing.                                                              AI
                              Feb 25, 2022, 5:16 AM: Alexander Ionov




AS     Where is the text from?
       Feb 25, 2022, 5:46 AM: Aleksei Sukhodolov




                              From TG [Telegram].                                                         AI
                              Feb 25, 2022, 5:55 AM: Alexander Ionov




                              I called the AP [The Presidential Administration of Russia] yesterday.      AI
                              Feb 25, 2022, 5:55 AM: Alexander Ionov




                              They lost the whole information campaign!                                   AI
                              Feb 25, 2022, 5:55 AM: Alexander Ionov
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                              Media/79774917332@s.whatsapp.net/e/2/e25882a6-20de-4e96-8dd9-
                              2842543c3c9d.thumb

                              [No file]                                                                    AI

                              https://t.me/bulbe_de_trones
                              Feb 25, 2022, 5:56 AM: Alexander Ionov




                              Now we'll start a wave that our frontline military forces in Gostomel
                              should be awarded for holding ground all night long.                         AI
                              Feb 25, 2022, 6:03 AM: Alexander Ionov




                              I'm calling up mass media.                                                   AI
                              Feb 25, 2022, 6:03 AM: Alexander Ionov




AS     Are you sure that everything isn't fake?
       Feb 25, 2022, 6:20 AM: Aleksei Sukhodolov




AS     We can't screw up.
       Feb 25, 2022, 6:21 AM: Aleksei Sukhodolov




                              Our people are there.                                                        AI
                              Feb 25, 2022, 6:21 AM: Alexander Ionov




                              Fake is how we fucked up in the information war. I have never seen
                              such a disgrace before…                                                      AI
                              Feb 25, 2022, 6:21 AM: Alexander Ionov




AS     Join in.
       Feb 25, 2022, 6:23 AM: Aleksei Sukhodolov




                              Yesterday I had been asking for the AP [The Presidential
                              Administration of Russia]until midnight just to hear in the end that their   AI
                              situation was all bad.
                              Feb 25, 2022, 6:23 AM: Alexander Ionov
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                              We did join in.                                                               AI
                              Feb 25, 2022, 6:23 AM: Alexander Ionov




                              ! Ukraine's Ministry of Defense informs that Russia's Armed Forces
                              took Vorzel. Gostomel, where the Russian air assault unit is engaged in
                              fierce fighting, is eight kilometers away . It's less than 30 kilometers to   AI
                              Kiev.
                              Feb 25, 2022, 6:25 AM: Alexander Ionov




                              [Summary] About 100 members of a Russian air assault unit are
                              surrounded by Ukrainian forces in Gostomel and engaged in heavy
                              fighting. Evidence suggests that so far Ukrainian troops have failed to
                              recapture the city. Russian armored troops are on their way to                AI
                              Gostomel to help the Russian soldiers. Every single surviving soldier is
                              to be awarded a medal for their service.
                              Feb 25, 2022, 6:26 AM: Alexander Ionov




                              It was us who started it                                                      AI
                              Feb 25, 2022, 6:26 AM: Alexander Ionov




       In other words, fuck, Ukies are tough. And we threw the air assault
AS     dudes into the clusterfuck?
       Feb 25, 2022, 6:27 AM: Aleksei Sukhodolov




                              The air assault unit is holding out and help is just eight kilometers
                              away.                                                                         AI
                              Feb 25, 2022, 6:27 AM: Alexander Ionov




                              That's how the old Tochka‐U can beat Russian Air and Missile Defense,
                              that's bullshit of some sort. Either our people aren't capable of             AI
                              anything anymore, or it's a lie.
                              Feb 25, 2022, 6:33 AM: Alexander Ionov




                              The Ukrainian forces struck the military airfield in Millerovo in Rostov
                              Oblast. According to war correspondent Semen Pegov's report, the
                              strike was carried out using Ukraine's Armed Forces' Tochka‐U ballistic       AI
                              missile.
                              Feb 25, 2022, 6:33 AM: Alexander Ionov
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                              We need to find out as soon as possible if there are American or
                              European private military companies [chvk] on Ukraine's Armed Forces'
                              side and if they are fighting against our military units. Is it possible to   AI
                              find out?
                              Feb 25, 2022, 6:48 AM: Alexander Ionov




       Don't make it worse. There's a ton of other topics. If so, Ukies will cheer
AS     up.
       Feb 25, 2022, 6:49 AM: Aleksei Sukhodolov




                              That's what I mean.                                                           AI
                              Feb 25, 2022, 6:49 AM: Alexander Ionov




                              We need to make sure that our people cheer up.                                AI
                              Feb 25, 2022, 6:50 AM: Alexander Ionov




                              Media/79774917332@s.whatsapp.net/0/b/0bd9ea32-2069-4dc8-b064-
                              1bdc00e4e999.thumb

                              [No file]
                                                                                                            AI
                              [Summary] All members of the Russian Airborne Forces in Gostomel
                              should be awarded the title of Hero of the Russian Federation. The
                              Blue Berets are Russia's true asset. https://t.me/readovkanews/26570
                              Feb 25, 2022, 7:11 AM: Alexander Ionov




                              [Summary] It is said that 200 members of the Russian Airborne Forces
                              caused a stir by landing in Gostomel. They continue to fight despite the
                              fact that they are largely outnumbered. Gostomel is a city of Russian         AI
                              military glory.
                              Feb 25, 2022, 7:11 AM: Alexander Ionov




       Why were they thrown into a massacre? Where's a backup? Is that a
AS     tactical miscalculation?
       Feb 25, 2022, 7:14 AM: Aleksei Sukhodolov




                              You need to call the Ministry of Defense [MO] and find out ).                 AI
                              Feb 25, 2022, 7:15 AM: Alexander Ionov
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                              Media/79774917332@s.whatsapp.net/a/8/a87ae6f6-3403-4d82-879f-
                              a22f1262f13d.jpg                                                         AI




                              Feb 25, 2022, 9:47 AM: Alexander Ionov




                              Everybody liked the topic.                                               AI
                              Feb 25, 2022, 9:47 AM: Alexander Ionov




                              Patriotism is growing.                                                   AI
                              Feb 25, 2022, 9:47 AM: Alexander Ionov




                              And you say, 'Don't'.                                                    AI
                              Feb 25, 2022, 9:48 AM: Alexander Ionov




AS     I saw! Go ahead and do it!
       Feb 25, 2022, 9:48 AM: Aleksei Sukhodolov




                              Media/79774917332@s.whatsapp.net/6/e/6e5428e0-6e81-4c40-b06b-
                              6fb1f28655e7.webp                                                        AI
                              Feb 25, 2022, 9:48 AM: Alexander Ionov
                              (Message continues)
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                                                                                          AI




                 Feb 25, 2022, 9:48 AM: Alexander Ionov




                 Media/79774917332@s.whatsapp.net/0/4/04e2a131-e6be-4f22-aefc-
                 2bdcf06702a1.webp                                                        AI
                 Feb 25, 2022, 9:48 AM: Alexander Ionov
                 (Message continues)
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                                                                                          AI




                 Feb 25, 2022, 9:48 AM: Alexander Ionov




                 Media/79774917332@s.whatsapp.net/0/2/02f4467b-53bd-4a5a-ab0d-
                 4b8f6c2a0b98.webp                                                        AI
                 Feb 25, 2022, 9:48 AM: Alexander Ionov
                 (Message continues)
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                                                                                                          AI




                              Feb 25, 2022, 9:48 AM: Alexander Ionov




                              In an hour I will give [you] America, the anti‐war coalition supported my
                              address speech.                                                             AI
                              Feb 25, 2022, 9:49 AM: Alexander Ionov




       Media/79774917332@s.whatsapp.net/1/1/11759928-96eb-4be1-830a-
AS     5596132d021d.jpg
       Feb 25, 2022, 10:43 AM: Aleksei Sukhodolov
       (Message continues)
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AS




        Feb 25, 2022, 10:43 AM: Aleksei Sukhodolov




AS      Beggars. Freeloaders.
        Feb 25, 2022, 10:44 AM: Aleksei Sukhodolov




                               [Emoji(s)]                                                                 AI
                               Feb 25, 2022, 10:44 AM: Alexander Ionov




                               https://site.readovka-
                               team.com/api/preview?key=85d6eec6a52be868d22f2f9e5fbfad89&id=8             AI
                               9644
                               Feb 25, 2022, 12:42 PM: Alexander Ionov




AS      [Emoji(s)]
        Feb 25, 2022, 12:43 PM: Aleksei Sukhodolov
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                               [Summary] Some Russian mass media outlets spread fabricated news
                               stories and disinformation misleading and manipulating people's
                               perceptions of reality and the Russian government. An instance of the
                               above is when Putin had to publicly refute a hoax about the                AI
                               Russian‐Ukrainian talks in Minsk. Only TG [Telegram] channels and a
                               number of war correspondents provide a truthful portrayal of the
                               Russo‐Ukrainian War.
                               Feb 25, 2022, 2:58 PM: Alexander Ionov




                               Peskov has lost his mind.                                                  AI
                               Feb 25, 2022, 2:58 PM: Alexander Ionov




                               [Summary] The war is believed to have split elite families. Relatives of
                               Russian officials share their concerns on social media calling for peace
                               in contradiction to the Party line. Among them are Rostec CEO Sergey       AI
                               Chemezov's son and Dmitry [Dmitriy [ICST]] Peskov's ex‐wife.
                               Feb 25, 2022, 3:00 PM: Alexander Ionov




AS      Send [me] the link.
        Feb 25, 2022, 3:21 PM: Aleksei Sukhodolov




                               [Give me] a minute.                                                        AI
                               Feb 25, 2022, 3:21 PM: Alexander Ionov




                               It wasn't me who wrote it, I just found it.                                AI
                               Feb 25, 2022, 3:21 PM: Alexander Ionov




                               https://t.me/vysokygovorit                                                 AI
                               Feb 25, 2022, 3:22 PM: Alexander Ionov




                               https://www.znak.com/2022-02-
                               25/elizaveta_peskova_vystupila_protiv_voyny_na_ukraine                     AI
                               Feb 25, 2022, 3:23 PM: Alexander Ionov




                               I don't understand anything.                                               AI
                               Feb 25, 2022, 3:31 PM: Alexander Ionov
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                 Everyone has completely fucking lost it.                                  AI
                 Feb 25, 2022, 3:31 PM: Alexander Ionov
